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    Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &        FOR COURT USE ONLY
    Email Address
    Joseph C. Delmotte (SBN 259460)
    jdelmotte@aldridgepite.com
    ALDRIDGE PITE, LLP
    3333 Camino del Rio South
    Suite 225
    San Diego CA 92108
    Telephone: (858) 750-7600
    Facsimile: (619) 590-1385




         Individual appearing without an attorney
         Attorney for: Financial Services Vehicle Trust

                                            UNITED STATES BANKRUPTCY COURT
                              CENTRAL DISTRICT OF CALIFORNIA - SAN FERNANDO VALLEY DIVISION

    In re:                                                                        CASE NO.: 1:24-bk-11716-MB
                                                                                  CHAPTER: 7
    RAY HUDSON DBA TAX BRACKETS LLC and
    SAMANEH HUDSON,
                                                                                          NOTICE OF MOTION AND MOTION FOR
                                                                                          RELIEF FROM THE AUTOMATIC STAY
                                                                                                 UNDER 11 U.S.C. § 362
                                                                                             (with supporting declarations)
                                                                                               (PERSONAL PROPERTY)

                                                                                  DATE:     January 7, 2025
                                                                                  TIME:    10:00 a.m.

                                                                   Debtor(s).     COURTROOM: 303


    Movant: FINANCIAL SERVICES VEHICLE TRUST
1. Hearing Location:
                   255 East Temple Street, Los Angeles, CA 90012                                 411 West Fourth Street, Santa Ana, CA 92701
                   21041 Burbank Boulevard, Woodland Hills, CA 91367                             1415 State Street, Santa Barbara, CA 93101
                   3420 Twelfth Street, Riverside, CA 92501

   2.        Notice is given to the Debtor and trustee (if any)(Responding Parties), their attorneys (if any), and other interested
             parties that on the date and time and in the courtroom stated above, Movant will request that this court enter an order
             granting relief from the automatic stay as to Debtor and Debtor’s bankruptcy estate on the grounds set forth in the
             attached Motion.

   3.        To file a response to the motion, you may obtain an approved court form at www.cacb.uscourts.gov/forms for use in
             preparing your response (optional LBR form F 4001-1.RFS.RESPONSE), or you may prepare your response using
             the format required by LBR 9004-1 and the Court Manual.




               This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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4.      When serving a response to the motion, serve a copy of it upon the Movant's attorney (or upon Movant, if the motion
        was filed by an unrepresented individual) at the address set forth above.

5.      If you fail to timely file and serve a written response to the motion, or fail to appear at the hearing, the court may deem
        such failure as consent to granting of the motion.

6.             This motion is being heard on REGULAR NOTICE pursuant to LBR 9013-1(d). If you wish to oppose this motion,
               you must file a written response to this motion with the court and serve a copy of it upon the Movant's attorney (or
               upon Movant, if the motion was filed by an unrepresented individual) at the address set forth above no less than
               14 days before the hearing and appear at the hearing of this motion.

7.             This motion is being heard on SHORTENED NOTICE pursuant to LBR 9075-1(b). If you wish to oppose this
               motion, you must file and serve a response no later than (date)      and (time)             ; and, you
               may appear at the hearing.

        a.         An application for order setting hearing on shortened notice was not required (according to the calendaring
                   procedures of the assigned judge).

        b.         An application for order setting hearing on shortened notice was filed and was granted by the court and such
                   motion and order have been or are being served upon the Debtor and upon the trustee (if any).

        c.         An application for order setting hearing on shortened notice and remains pending. After the court has ruled
                   on that application, you will be served with another notice or an order that will specify the date, time and place
                   of the hearing on the attached motion and the deadline for filing and serving a written opposition to the
                   motion.


Date:    December 12, 2024                                                           Aldridge Pite, LLP
                                                                                     Printed name of law firm (if applicable)


                                                                                     Joseph C. Delmotte
                                                                                     Printed name of individual Movant or attorney for Movant



                                                                                     Signature of individual Movant or attorney for Movant




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         MOTION FOR RELIEF FROM THE AUTOMATIC STAY AS TO PERSONAL PROPERTY
1. Movant has a perfected security interest in the Property.

2. The Property at Issue (Property):

    a.                Vehicle (year, manufacturer, type, and model): 2024 BMW iX xDrive 50

                Vehicle Identification Number: WB523CF01RCN99071
                Location of vehicle (if known): Movant’s Possession

    b.          Equipment (manufacturer, type, and characteristics):

                Serial number(s):

                Location (if known):

    c.          Other Personal Property (type, identifying information, and location):


3. Bankruptcy Case History:

    a.          A voluntary bankruptcy petition                An involuntary bankruptcy petition
                under Chapter      7        11                 12     13 was filed on (date) 10/9/2024                            .

    b.          An order to convert this case to chapter                 7          11        12        13 was entered on (date):                .
    c.          Plan was confirmed on (date):                            .


4. Grounds for Relief from Stay:

    a.          Pursuant to 11 U.S.C. § 362(d)(1), cause exists to grant Movant the requested relief from stay as follows:

         (1)          Movant’s interest in the Property is not adequately protected.
                (A)        Movant’s interest in the Property is not protected by an adequate equity cushion.
                (B)        The fair market value of the Property is declining and payments are not being made to Movant
                           sufficient to protect Movant’s interest against that decline.
                (C)        Proof of insurance regarding the Property has not been provided to Movant, despite the Debtor’s
                           obligation to insure the collateral under the terms of Movant’s contract with the Debtor.
                (D)        Other (see attached continuation page).

         (2)          The bankruptcy case was filed in bad faith.

                (A)        Movant is the only creditor, or one of very few creditors, listed or scheduled in the Debtor’s case
                           commencement documents.




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                (B)        The Property was transferred to the Debtor either just before the bankruptcy filing or after the filing.

                (C)        A non-individual entity was created just prior to the bankruptcy petition date for the sole purpose of
                           filing this bankruptcy case.

                (D)        Other bankruptcy cases were filed in which an interest in the Property was asserted.

                (E)        The Debtor filed only a few case commencement documents with the bankruptcy petition. Schedules
                           and statement of financial affairs (or chapter 13 plan, if appropriate) have not been filed.

          (3)         (Chapter 12 or 13 cases only) All payments on account of the Property are being made through the plan
                      and plan payments have not been made to the chapter 12 or chapter 13 trustee for payments due
                         postpetition preconfirmation    postpetition postconfirmation.

          (4)         The lease has matured, been rejected or deemed rejected by operation of law.

          (5)         The Debtor filed a statement of intention that indicates the Debtor intends to surrender the Property.

          (6)         Movant regained possession of the Property on (date) __September 17, 2024_____________, which is
                        prepetition    postpetition.

          (7)         For other cause for relief from stay, see attached continuation page.

     b.         Pursuant to 11 U.S.C. § 362(d)(2)(A), the Debtor has no equity in the Property; and, pursuant to 11 U.S.C.
                § 362(d)(2)(B), the Property is not necessary for an effective reorganization.


5. Grounds for Annulment of the Stay. Movant took postpetition actions against the Property or the Debtor.
     a.         These actions were taken before Movant knew that the bankruptcy petition had been filed and Movant would
                have been entitled to relief from stay to proceed with those actions,
     b.         Movant knew the bankruptcy case had been filed, but Movant previously obtained relief from stay to proceed
                with these enforcement actions,
     c.         Other (specify):


6.        Evidence in Support of Motion: (Declaration(s)must be signed under penalty of perjury and attached to
          this motion)
     a.         The PERSONAL PROPERTY DECLARATION on page 6 of this motion.

     b.         Supplemental declaration(s).

     c.         The statements made by the Debtor under penalty of perjury concerning Movant’s claims and the Property as
                 set forth in Debtor’s case commencement documents. Authenticated copies of the relevant portions of
                the case commencement documents are attached as Exhibit(s)             .
     d.         Other: Kelley Blue Book Pricing Report for the Property attached hereto as Exhibit 3.


7. An optional Memorandum of Points and Authorities is attached to this motion.




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Movant requests the following relief:

1. Relief from the stay is granted under:                11 U.S.C. § 362(d)(1)            11 U.S.C. § 362(d)(2)

2.      Movant (and any successors or assigns) may proceed under applicable nonbankruptcy law to enforce its
        remedies to repossess and sell the Property.

3.      Confirmation that there is no stay in effect.

4.      The stay is annulled retroactive to the petition date. Any postpetition actions taken by Movant to enforce its
        remedies regarding the Property do not constitute a violation of the stay.

5.      The co-debtor stay of 11 U.S.C. §1201(a) or § 1301(a) is terminated, modified or annulled as to the co-debtor, on
        the same terms and conditions as to the Debtor.

6.      The 14-day stay prescribed by FRBP 4001(a)(3) is waived.

7.      The order is binding in any other bankruptcy case purporting to affect the Property filed not later than 2 years after
        the date of entry of such order, except that a debtor in a subsequent case may move for relief from the order
        based upon changed circumstances or for good cause shown, after notice and hearing.

8.      The order is binding and effective in any bankruptcy case commenced by or against the Debtor for a period of 180
        days, so that no further automatic stay shall arise in that case as to the Property.

9.      The order is binding and effective in any bankruptcy case commenced by or against any debtor who claims any
        interest in the Property for a period of 180 days, so that no further stay shall arise in that case as to the Property.

10.     The order is binding and effective in any future bankruptcy case, no matter who the debtor may be
           without further notice, or     upon recording of a copy of this order or giving appropriate notice of its entry in
        compliance with applicable nonbankruptcy law.

11.     If relief from stay is not granted, the court orders adequate protection.

12.     See continuation page for other relief requested

Date:   December 12, 2024                                                           Aldridge Pite, LLP
                                                                                    Printed name of law firm (if applicable)

                                                                                    Joseph C. Delmotte
                                                                                    Printed name of individual Movant or attorney for Movant


                                                                                    Signature of individual Movant or attorney for Movant




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                                                    ATTACHMENT 4.a.(7)

   Debtor has failed to make payments to Movant owing under the Lease Agreement (See Personal Property Declaration, ¶7).




    1 This Motion for Relief from Automatic Stay shall not constitute a waiver of the within party’s right to receive service

pursuant to Fed. R. Civ. P. 4, made applicable to this proceeding by Fed. R. Bankr. P. 7004, notwithstanding Aldridge Pite,
LLP’s participation in this proceeding. Moreover, the within party does not authorize Aldridge Pite, LLP, either expressly or
impliedly through Aldridge Pite, LLP’s participation in this proceeding, to act as its agent for purposes of service under Fed. R.
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                                        PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                              3333 Camino del Rio South, Suite 225, San Diego, CA 92108

A true and correct copy of the foregoing document entitled: NOTICE OF MOTION AND MOTION FOR RELIEF FROM
THE AUTOMATIC STAY UNDER 11 U.S.C. § 362 (with supporting declarations) (PERSONAL PROPERTY) will be
served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the
manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
December 12, 2024, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined
that the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses
stated below:

U.S. TRUSTEE:                                        ATTORNEY FOR DEBTOR:                                   TRUSTEE:
ustpregion16.wh.ecf@usdoj.gov                        William G Silverstein                                  David Keith Gottlieb (TR)
                                                     cacb@sorehands.com                                     dkgtrustee@dkgallc.com


                                                                                           Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On December 12, 2024, I served the following persons and/or entities at the last known addresses in this bankruptcy case
or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first
class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge
will be completed no later than 24 hours after the document is filed.

PRESIDING JUDGE:                                                                DEBTOR:
Honorable Martin R. Barash                                                      Ray Hudson
United States Bankruptcy Court                                                  4955 Calle Robleda
Central District of California                                                  Agoura, CA 91301
21041 Burbank Boulevard, Suite 342 / Courtroom 303
Woodland Hills, CA 91367                                                        Samaneh Hudson
                                                                                4955 Calle Robleda
                                                                                Agoura, CA 91301


                                                                                           Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on                         , I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

                                                                                           Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

December 12, 2024           Michael Leewright                                              /s/ Michael Leewright
Date                         Printed name                                                          Signature


        This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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